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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 5:17-MJ-00052-JLT
11
                                  Plaintiff,            ___________ ORDER SEALING DOCUMENTS
                                                        [PROPOSED]
12                                                      AS SET FORTH IN GOVERNMENT’S
                            v.                          APPLICATION
13
     LUIS FERNANDEZ,
14
                                  Defendant.
15

16
            Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s
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     Request to Seal, IT IS HEREBY ORDERED that the government’s Complaint, affidavit in support of
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     the Complaint, and arrest warrant pertaining to defendant LUIS FERNANDEZ, Government’s Request
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     to Seal, and this Sealing Order shall be SEALED until further order of this Court.
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            It is further ordered that access to the sealed documents shall be limited to the government and,
21
     upon defendant’s counsel for the defendant.
22

23
      Dated: 12/7/17
24                                                    THE HONORABLE JENNIFER L. THURSTON
                                                      UNITED STATES MAGISTRATE JUDGE
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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET          1
      FORTH IN GOVERNMENT’S APPLICATION
